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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA
                                              NO: 1:20-CR-020
       v.
                                              (Wilson, J.)
 M&J EXCAVATION, INC.,
 JOHN AUGUST SIDARI, JR.                      ECF


     MEMORANDUM IN SUPPORT OF MOTION TO USE HANDWRITTEN
            NOTES OF AGENT GREGORY MCDOWELL


      M&J Excavation, Inc. and John August Sidari, Jr. seek to use at trial for

impeachment purposes handwritten notes taken by EPA Agent Gregory McDowell

during his interview with Mr. Sidari on March 21, 2017. As explained below,

Agent McDowell’s notes are Brady material that are admissible as impeachment

evidence pursuant to Fed. R. Evid. 613(a).

I.    BACKGROUND

      From February 17, 2015, when he received the initial tip in this matter, until

his retirement in or about September 2018, Agent McDowell was the lead agent

who investigated the allegations against the Defendants. On March 21, 2017, more

than two years after the alleged conduct that is the subject of the Indictment – that

M&J and Mr. Sidari allegedly disturbed asbestos containing material in violation

of the Clean Air Act regulations – Agent McDowell interviewed Mr. Sidari by

himself, without any other agents or witnesses present. Agent McDowell did not
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record the interview. Instead, Agent McDowell took handwritten notes of his

conversation with Mr. Sidari. Exhibit A. Agent McDowell then used the

handwritten notes to write an Investigative Activity Report of the interview.

Exhibit B. Agent McDowell did not present his notes or the Investigative Activity

Report he subsequently prepared to Mr. Sidari to review or sign.

      On March 8, 2022, M&J and Mr. Sidari requested from the government the

notes of Agent McDowell’s interview with Mr. Sidari. On March 11, 2022, the

government responded to this request and agreed to turn over Agent McDowell’s

notes of his interview with Mr. Sidari, subject to certain conditions that were

memorialized in a stipulation between M&J, Mr. Sidari, and the government. 1

Exhibit C. After reviewing Agent McDowell’s notes, M&J and Mr. Sidari believe

that the notes are Brady material that should be admissible as impeachment

evidence in the upcoming trial.2


1
 The government has agreed that the stipulation does not prohibit M&J and Mr.
Sidari from filing the handwritten notes as an exhibit to this motion.
2
  M&J and Mr. Sidari will file a motion for the production of Agent McDowell’s
personnel file and information related to prior allegations of misconduct. During
the period of approximately 2010 to 2013, Agent McDowell was the subject of an
investigation that resulted in the EPA placing him on administrative leave for
nearly two years, and even after the investigation concluded the EPA Director of
Criminal Investigations communicated to the Offices of the United States Attorney
for the five judicial districts in which Agent McDowell was working regarding his
past conduct and such communication “significantly hindered” Agent McDowell’s
work in those districts. This information is also Brady material and should be
available to the defense for further impeachment of Agent McDowell.
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II.   LEGAL ARGUMENT

      Under Brady, the government must disclose to a defendant evidence that is

both favorable to the accused and material either to guilt or punishment. Brady v.

Maryland, 373 U.S. 83, 87 (1963). Furthermore, Brady evidence includes

impeachment evidence that affects the credibility of a government witness. Giglio

v. United States, 405 U.S. 150 (1972); United States v. Bagley, 473 U.S. 667

(1985). Regarding a law enforcement agent’s rough notes, courts have found that

the notes must be produced to the defendant where there is the likelihood that the

rough notes contain impeachment material under Brady. United States v. Pelullo,

105 F.3d 117, 122 (3d Cir. 1997). Here, the government provided Agent

McDowell’s notes to M&J and Mr. Sidari, although it did not waive its position

that rough notes of an interview are not otherwise discoverable. In this case,

however, the notes contain substantive information that is useful to M&J and Mr.

Sidari in preparing their defense. For this reason, the notes are discoverable Brady

material and M&J and Mr. Sidari seek to use and introduce the notes in the

upcoming trial.

      M&J and Mr. Sidari seek to use the notes to impeach Agent McDowell and

attack his credibility. The scope and extent of cross-examination is within the

sound discretion of the trial judge. United States v. Rockwell, 781 F.2d 985, 988

(3d Cir. 1986). Here, Agent McDowell’s credibility is central to the government's


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case.3 During the investigation, Agent McDowell conducted an interviewed Mr.

Sidari by himself, with no other agents or witnesses, and did not record the

interview, nor did Agent McDowell provide to Mr. Sidari to review and verify his

notes or his statement attributed to Mr. Sidari. M&J and Mr. Sidari should be

permitted to use impeachment evidence against Agent McDowell so that the jury

can properly judge his credibility.

      Under Fed. R. Evid. 613(a), a witness may be questioned concerning a prior

inconsistent statement made by the witness to impeach the witness's credibility.

Furthermore, discrepancies between the agent’s notes of an interview and the final

report can be used to impeach the agent’s credibility. United States v.

Harrison, 524 F.2d 421, 427-28 (D.C. Cir. 1975).

      Here, there is a discrepancy between Agent McDowell’s notes and the

Investigative Activity Report that he later prepared. The discrepancy relates to the

placement and characterization in Agent McDowell’s Investigative Activity Report

of a statement that he attributes to Mr. Sidari that he “acknowledged that the skid-

steers ran through the asbestos that was lying on the ground.” Exhibit A. Mr.

Sidari highly disputes this statement that Agent McDowell attributes to him. This

statement, which is in the middle of the Investigative Activity Report, was taken



3
 Including for the reasons set forth in Footnote 2, above, and as set more fully in the
related motion that M&J and Mr. Sidari will file later today.
                                          4
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from the last line of Agent McDowell’s handwritten notes that refers to Mr. Sidari

using machinery to remove materials, followed by a notation that says “skid-steers

(like little bobcats)” and “through asb.” Exhibit B. This discrepancy is a prior

inconsistent statement under Fed. R. Evid. 613(a) and M&J and Mr. Sidari should

be permitted to use the notes to impeach Agent McDowell’s credibility.

      M&J and Mr. Sidari also seek to introduce the notes to test the veracity of

Agent McDowell’s Investigative Activity Report. Courts have permitted the use of

rough notes for this purpose. Harrison, 524 F.2d at 427-28. The veracity of the

Investigative Activity Report is a significant issue because Mr. Sidari’s interview

was not audio or videorecorded. As discussed above, the discrepancy between the

notes and the Investigative Activity Report goes directly to the veracity of the

Investigative Activity Report. M&J and Mr. Sidari should be permitted to use the

notes to highlight the discrepancy when disputing Agent McDowell’s recollection

of this unrecorded interview. Because the veracity of the Investigative Activity

Report is an issue in this case, the Court should permit M&J and Mr. Sidari to use

the notes in cross-examination of Agent McDowell.




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III.   CONCLUSION

       For the reasons stated above, M&J and Mr. Sidari respectfully request that

the Court grant their Motion.



                                Respectfully submitted,

                                 /s/ Lathrop B. Nelson, III
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                           CERTIFICATE OF SERVICE


       Pursuant to Local Rule 5.7 and Standing Order 17-3, I hereby certify that the

foregoing Memorandum in Support of Motion to Use Handwritten Notes of Agent

Gregory McDowell was served on counsel of record through the Electronic Case

Filing System.



                                             /s/ Lathrop B. Nelson, III
                                             Lathrop B. Nelson, III




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